                IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF IOWA
                         WESTERN DIVISION


SAMUEL DE DIOS,                )
                               )                  CASE NO. 5:18-cv-04015
     Plaintiff,                )
                               )                  SECOND
vs.                            )                  AMENDED AND
                               )                  SUBSTITUTED
INDEMNITY INSURANCE COMPANY )                     COMPLAINT AND
OF NORTH AMERICA,              )                  JURY DEMAND
BROADSPIRE SERVICES, INC., and )
BRAND ENERGY & INFRASTRUCTURE)
SERVICES,                      )
                               )
     Defendants.               )
____________________________________________________________________
     COMES NOW Plaintiff Samuel De Dios, by and through his attorneys,

Anthony J. Bribriesco of the BRIBRIESCO LAW FIRM, PLLC, and the AL

STURGEON LAW OFFICE, for his Amended Complaint and Jury Demand states:

                   PARTIES, VENUE & JURISDICTION

     1.    At all times material to this Petition, Plaintiff Samuel de Dios (herein

referred to as “SAMUEL”) has been a resident of Woodbury County, Iowa.

     2.    At all times material to this Petition, Brand Energy & Infrastructure

Services had an insurance policy with Indemnity Insurance Company of North

America. Plaintiff will refer to any employee or agent of Insurance Indemnity




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Company of North America, as well as the corporate entity itself, as “the

INSURANCE COMPANY.”

      3.     At all times material to SAMUEL’s causes of actions, Brand Energy &

Infrastructure Services contracted with the INSURANCE COMPANY to pay

benefits pursuant to Iowa Code Chapters 85, 85A, 85B, 86, and 87 (herein referred

to as “Iowa Workers’ Compensation Laws”). Plaintiff will refer to Brand Energy &

Infrastructure Services as “the EMPLOYER.”

      4.     At all times material to SAMUEL’s causes of action, the INSURANCE

COMPANY delegated its authority of investigating, handling, managing,

administering, and paying benefits under Iowa Workers’ Compensation Laws to

Broadspire Services, Incorporated. Plaintiff will refer to this corporate entity as

“BROADSPIRE.”

      5.     At all times material to the Petition, the INSURANCE COMPANY and

BROADSPIRE were responsible for making timely payment of workers’

compensation benefits to employees of the EMPLOYER, including SAMUEL.

Plaintiff will refer to both the INSURANCE COMPANY and BROADSPIRE

collectively as “the Defendants.”

      6.     BROADSPIRE and the INSURANCE COMPANY are essentially one

and the same entity for purposes of the instant action.




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      7.    The INSURANCE COMPANY lacked the necessary support staff to

investigate on-the-job injuries in Iowa, including SAMUEL’s on-the-job injury.

      8.    The INSURANCE COMPANY lacked the necessary support staff that

had the experience or knowledge to make an informed decision on whether to pay

benefits pursuant to Iowa Workers’ Compensation Laws.

      9.    The INSURANCE COMPANY obligated BROADSPIRE to provide

actuarial services for workers’ compensation claims, including SAMUEL’s

workers’ compensation claim.

      10.   The INSURANCE COMPANY obligated BROADSPIRE to provide

underwriting services for workers’ compensation claims, including SAMUEL’s

workers’ compensation claim.

      11.   BROADSPIRE performed the tasks of a workers’ compensation

insurance company in Iowa.

      12.   BROADSPIRE received a percentage of the premiums that the

EMPLOYER paid to the INSURANCE COMPANY.

      13.   BROADSPIRE’s compensation package with the INSURANCE

COMPANY was tied to the approval or denial of workers’ compensation claims:

BROADSPIRE received more of the EMPLOYER’s premium as the payment of

workers’ compensation benefits decreased.




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      14.      BROADSPIRE had a financial risk of loss for workers’ compensation

claims it administered on behalf of the INSURANCE COMPANY, including

SAMUEL’s workers’ compensation claim.

      15.      The INSURANCE COMPANY had a financial risk of loss for workers’

compensation claims that were administered by BROADSPIRE, including

SAMUEL’s workers’ compensation claim.

      16.      The INSURANCE COMPANY entered into a reinsurance agreement

with BROADSPIRE for payments made on behalf on workers’ compensation

claims, including SAMUEL’s workers’ compensation claim.

      17.      Employees of BROADSPIRE made the decision to deny SAMUEL

workers’ compensation benefits during the scope of their agency with the

INSURANCE COMPANY.

      18.      In the alternative, employees of the INSURANCE COMPANY made

decisions to deny SAMUEL workers’ compensation benefits.

      19.      The amount in controversy exceeds this Court’s jurisdictional

requirement.

                            COMMON ALLEGATIONS

      20.      Plaintiff repleads paragraphs 1-19

      21.      Before April 8, 2016, SAMUEL performed all the physical demands

required by the EMPLOYER.


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      22.    As a part of his job responsibilities, SAMUEL was assigned to work on

a construction site that was located on the private property of CF Industries.

SAMUEL was required to drive past a security gate and security guard to in order

to access this private property. Plaintiff will refer to the private property past the

security gate and security guard as the “SITE.”

      23.    The EMPLOYER directed SAMUEL to the SITE when he reported to

work on April 8, 2016.

      24.    On April 8, 2016, SAMUEL was complying with instructions of the

EMPLOYER when he was driving to the SITE.

      25.    On April 8, 2016, Jonathan Elizondo crashed his vehicle into the back

of SAMEUL’s vehicle. Plaintiff will refer to this as the “Car Collision.”

      26.    The Car Collison occurred on the SITE.

      27.    The impact of the Car Collision was so great that it broke the back

window of SAMUEL’s vehicle.

      28.    The impact of the Car Collision was so great that it broke the driver’s

seat of SAMUEL’s vehicle.

      29.    Tina Gregg (“GREGG”) was the security guard on the private property

of CF Industries at the time of the Car Collision.

      30.    GREGG witnessed that the Car Collision occurred on the SITE.




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      31.   Defendants knew or should have known that Gregg was a witness to

Car Collision.

      32.   Defendants had GREGG’s contact information.

      33.   Defendants never interviewed GREGG about the Car Collision before

they decided to deny SAMUEL workers’ compensation benefits.

      34.   Defendants knew or should have known that they were required to

interview GREGG about the Car Collision before making the decision to deny

SAMUEL workers’ compensation benefits.

      35.   On April 8, 2016, SAMUEL sustained injuries that arose out of and in

the course of his employment with the EMPLOYER. Plaintiff will refer to these

injuries, including a lower back injury, collectively as “the WORK INJURY.”

      36.   On April 8, 2016, SAMUEL reported the WORK INJURY to the safety

manager of the EMPLOYER, Ismael Barba.

      37.   On April 8, 2016, Defendants knew about the WORK INJURY.

      38.   On April 8, 2016, the EMPLOYER authorized SAMUEL to choose

whatever medical provider he would like to provide care for the WORK INJURY.

      39.   On April 8, 2016, SAMUEL chose to be seen at St. Luke’s Hospital,

which is located at 2720 Stone Park Boulevard in Sioux City, Iowa, for the WORK

INJURY.




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      40.   On April 8, 2016, Dr. Jeffrey O’Tool provided medical care to

SAMUEL for the WORK INJURY.

      41.   Defendants never contacted Dr. Jeffrey O’Tool before it made the

decision to deny SAMUEL workers’ compensation benefits.

      42.   Defendants never reviewed medical records from St. Luke’s Hospital

before they made the decision to deny SAMUEL workers’ compensation benefits.

      43.   On April 8, 2016, Defendants knew or should have known that that they

were required to pay SAMUEL medical benefits relating to the WORK INJURY,

including the medical expenses from St. Luke’s Hospital.

      44.   On April 11, 20016, SAMUEL returned to work with the EMPLOYER

and he began experiencing a worsening of back pain from the WORK INJURY.

      45.   On April 14, 20016, the EMPLOYER sent SAMUEL home because of

the WORK INJURY.

      46.   On April 14, 2016, the EMPLOYER authorized SAMUEL to choose

whatever medical provider he would like to see to care for the WORK INJURY.

      47.   From April 8, 2016 through April 15, 2016, Defendants never

attempted to contact SAMUEL regarding the WORK INJURY.

      48.   On April 15, 2016, SAMUEL chose to see his family doctor, Alisa M.

Olson, DO, for treatment of the WORK INJURY.




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      49.   From April 15, 2016 through May 9, 2016, Dr. Olson restricted

SAMUEL from performing work activities as a result of the WORK INJURY.

      50.   Defendants never contacted Dr. Olson before it made the decision to

deny SAMUEL workers’ compensation benefits.

      51.   Defendants never reviewed medical records from Dr. Olson before it

made the decision to deny SAMUEL workers’ compensation benefits.

      52.   From April 8, 2016 through May 9, 2016, the EMPLOYER refused to

provide “light duty” work to SAMUEL.

      53.   On April 15, 2016, Defendants knew or should have known that

SAMUEL had work restrictions as a result of the WORK INJURY.

      54.   On April 15, 2016, Defendants knew or should have known that the

EMPLOYER refused to provide “light duty work” within these restrictions.

      55.   On April 15, 2016, Defendants knew or should have known that that

they were required to pay SAMUEL Temporary Total Disability (“TTD”) Benefits

and/or Healing Period (“HP”) Benefits until a determination of maximum medical

improvement was made by a qualified, medical expert.

      56.   From April 15, 2016 through June 9, 2016, Defendants never attempted

to contact SAMUEL.




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      57.     Defendants knew or should have known that they were required to

interview SAMUEL regarding the Car Collision and the WORK INJURY within

thirty (30) days of the Car Collision/WORK INJURY, i.e., before May 8, 2017.

      58.     Defendants had a responsibility to follow the insurance industry

standard of “Three-Point Contact” before denying SAMUEL                    workers’

compensation benefits.

      59.     Defendant violated the insurance industry standard of “Three Point

Contact.”

      60.     On June 9, 2016, SAMUEL was forced to file a workers’ compensation

claim against Defendants because of their choice to deny workers’ compensation

benefits. Plaintiff will refer to this claim as “the Workers’ Compensation Claim.”

      61.     Iowa Code section 86.13(4) requires that Defendants conduct a

reasonable investigation before denying SAMUEL workers’ compensation benefits.

      62.     In the case of Jenson v. Cummins Filtration-Lake Mills, the Iowa

Workers’      Compensation   Commissioner     clearly   mandated    that   workers’

compensation insurance companies have an affirmative duty to conduct a reasonable

evaluation of the claim, even in the absence of a causation opinion in favor of the

claimant. Plaintiff has attached a copy of Jenson v. Cummins Filtration-Lake Mills,

File Nos. 5032401-5032402 (App. Dec., September 25, 2012) as “Petitioner’s

Exhibit 1”.


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      63.   The Iowa Supreme Court has clearly ruled that: a workers’

compensation insurance company has an affirmative duty to act reasonably even in

the absence of specific direction by the Iowa Workers’ Compensation

Commissioner. Gibson v. ITT Hartford Ins. Co., 621 N.W.2d 388, 397 (Iowa 2001)

(quoting Boylan v. Am. Motorist Ins. Co., 489 N.W.2d 743, 743 (Iowa 1992)).

      64.   Pursuant to their policies and procedures, Defendants were required to

conduct a reasonable investigation before denying           SAMUEL workers’

compensation benefits.

      65.   Iowa Code section 86.13(4) required that Defendants conduct a

reasonable evaluation regarding the compensability of the WORK INJURY before

denying SAMUEL workers’ compensation benefits.

      66.   In Boylan v. Am. Motorist Ins. Co., 489 N.W.2d 743 (Iowa 1992), the

Iowa Supreme Court established that a workers’ compensation insurance company

has a duty to conduct a reasonable evaluation regarding the compensability of an

alleged work injury before denying workers’ compensation benefits.

      67.   Pursuant to their policies and procedures, Defendants were required to

conduct a reasonable evaluation before denying SAMUEL workers’ compensation

benefits.




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      68.    On August 23, 2016, Defendants filed an Answer with the Iowa

Workers’ Compensation Commissioner and denied liability for the WORK

INJURY. Plaintiff has attached the Answer as “Petitioner’s Exhibit 2”.

      69.    Iowa Code section 86.13(4) requires that Defendants convey their

actual basis for denying workers’ compensation benefits to SAMUEL

contemporaneously at the time of the denial.

      70.    On August 23, 2016, Defendants did not convey to SAMUEL the basis

for its decision to deny the claim.

      71.    On August 23, 2016, Defendants violated Iowa Code section 86.13(4).

      72.    On August 23, 2016, Defendants represented to the Iowa Workers’

Compensation Agency that the correct insurance carrier was “Indemnity Insurance

Company of North America.”

      73.    On or about February 13, 2017, Defendants had the Affidavit of

GREGG in their possession or under their control. Plaintiff has attached this

Affidavit as “Petitioner’s Exhibit 3”.

      74.    In her Affidavit, GREGG states that the Car Collision “occurred about

75-100 yards inside the gate shack.” (Pet. Ex. 3, emphasis added)

      75.    In her Affidavit, GREGG states the following: “once an individual is at

the guard shack they clearly within the property of CF Industries and the project.”

(Pet. Ex. 3, emphasis added)


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      76.    After receiving the Affidavit of GREGG, Defendants had a

responsibility to review or reevaluate its decision to deny SAMUEL workers’

compensation benefits. Squealer Fees v. Pickering, 530 N.W.2d 678, 683 (Iowa

1995); McIlravy v. North River Ins. Co., 653 N.W.2d 323, (Iowa 2002).

      77.    After receiving the Affidavit of GREGG, Defendants knew or should

have known that they were required review or reevaluate its decision to deny

SAMUEL workers’ compensation benefits.

      78.    After receiving the Affidavit of GREGG, Defendants did not

review or reevaluate its decision to deny SAMUEL workers’ compensation benefits.

      79.    On July 12, 2017 Deputy Workers’ Compensation Commissioner

William Grell presided over the Arbitration Hearing in the Workers’ Compensation

Claim. Plaintiff will refer to the Deputy as “the Judge.”

      80.    On December 11, 2017, the Judge filed the arbitration decision for the

Workers’ Compensation Claim. Plaintiff will refer to this as “the Decision.”

      81.    In the Decision, the Judge wrote the following:

      …It is clear in this record that the accident on April 8, 2016 occurred
      inside a fenced and guarded area. It is equally clear that claimant was
      instructed in which specific area he was to park when reporting for
      work and that Mr. De Dios was complying with those instructions when
      the accident occurred…There is no doubt in this record that the motor
      vehicle accident occurring on April 8, 2016 occurred after Mr. De Dios
      passed the initial guard shack and was proceeding down a dirt road
      established and dedicated for use by employees of contractors, such as
      Mr. De Dios…


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(Decision, File No. 5061144, page 3, emphasis added)

      82.    The Iowa Workers’ Compensation Agency has already decided that the

WORK INJURY arose out of and in the course of SAMUEL’s employment.

      83.    On February 27, 2018, Defendants voluntarily made payment of TTD

Benefits and/or HP Benefits because they knew that they had denied the payment of

weekly benefits in bad faith.

      84.    On March 14, 2018, Defendants offered SAMUEL $42,338.50 to settle

the Workers’ Compensation Claim when Defendants actually valued the Workers’

Compensation Claim over $500,000.00.

      85.    Defendants authorized, approved, and ratified the willful and wanton

actions of its employees and agents to deny workers’ compensation benefits in bad

faith so as to entitle Plaintiff to punitive and/or exemplary damages.

     COUNT I - BAD FAITH AGAINST THE INSURANCE COMPANY

      86.    Plaintiff repleads Paragraphs 1 – 85 as though fully and completely set

forth in this Count I.

      87.    The INSURANCE COMPANY had an affirmative duty to conduct a

reasonable investigation before it was allowed to decide whether or not to deny

SAMUEL workers’ compensation benefits, which included the following

affirmative duties:




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             A.     The INSURANCE COMPANY had a duty to interview the

                    witnesses to the Car Collision.

             B.     The INSURANCE COMPANY had to a duty to have a qualified,

                    medical expert review SAMUEL’s medical records.

             C.     The INSURANCE COMPANY had a duty to send SAMUEL for

                    an independent medical examination.

             D.     The INSURANCE COMPANY had a duty to communicate with

                    SAMUEL’s treating physicians.

             E.     The INSURANCE COMPANY had a duty to follow the

                    insurance industry standard of three-point contact.

             F.     The INSURANCE COMPANY had a duty to memorialize its

                    investigation.

      88.    The INSURANCE COMPANY violated its affirmative duty to conduct

a reasonable investigation before it decided to deny SAMUEL workers’

compensation benefits.

      89.    THE INSURANCE COMPANY’s investigation - or lack of

investigation - goes to “the very foundation of the basis for its denial.” See McIlravy

v. North River Ins. Co., 653 N.W.2d 323 (Iowa 2002).

      90.    The INSURANCE COMPANY had an affirmative duty to conduct a

reasonable evaluation before it was allowed to deny workers’ compensation benefits.


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      91.    The INSURANCE COMPANY violated its duty to conduct a

reasonable evaluation before it decided to deny SAMUEL workers’ compensation

benefits and violated this duty when:

             A.     The INSURANCE COMPANY made an uniformed decision.

             B.     The INSURANCE COMPANY made a decision based on

                    financial motivation. and

             C.     The INSURANCE COMPANY ignored Iowa law on the well-

                    established exceptions to the so-called “going and coming” rule

                    such as the “zone of protection” exception.

      92.    The INSURANCE COMPANY had an affirmative duty to reevaluate

its denial after receiving additional information.

      93.    The INSURANCE COMPANY violated its duty to reevaluate its denial

after receiving additional information regarding the WORK INJURY.

      94.    The INSURANCE COMPANY had no reasonable basis to deny

SAMUEL workers’ compensation benefits.

      95.    The INSURANCE COMPANY knew or should have known that no

reasonable basis existed to support its decision to deny SAMUEL payment of

workers’ compensation benefits.

      96.    The INSURANCE COMPANY relied on advice of counsel when it

chose to deny SAMUEL workers’ compensation benefits.


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      97.    As a result of THE INSURANCE COMPANY’s actions, SAMUEL has

sustained harms and losses as follows:

             A.     past and future medical expenses;

             B.     past and future pain and suffering, including mental anguish;

             C.     past and future loss of full body;

             D.     past lost wages and loss of future earning capacity;

             E.     consequential damages and other pecuniary losses; and

             F.     loss of property.

      98.    The actions and conduct of the INSURANCE COMPANY were willful

and wanton so as to entitle Plaintiff to punitive damages.

      WHEREFORE Plaintiff prays for judgment for compensatory damages

against the INSURANCE COMPANY, in a fair and reasonable amount, and punitive

damages together with interest thereon as provided by law and the costs of this

action.

              COUNT II - BAD FAITH AGAINST BROADSPIRE

      99.    Plaintiff repleads Paragraphs 1 – 98 as though fully and completely set

forth in this Count II.

      100. BROADSPIRE had an affirmative duty to conduct a reasonable

investigation before it was allowed to decide whether or not to deny SAMUEL

workers’ compensation benefits, which included the following affirmative duties:


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            A.     BROADSPIRE had a duty to interview the witnesses to the Car

                   Collision.

            B.     BROADSPIRE had to a duty to have a qualified, medical expert

                   review SAMUEL’s medical records.

            C.     BROADSPIRE had a duty to send SAMUEL for an independent

                   medical examination.

            D.     BROADSPIRE had a duty to communicate SAMUEL’s treating

                   physicians.

            E.     BROADSPIRE had a duty to follow the insurance industry

                   standard of three-point contact.

            F.     BROADSPIRE had a duty to memorialize its investigation.

      101. BROADSPIRE violated its affirmative duty to conduct a reasonable

investigation before it decided to deny SAMUEL workers’ compensation benefits.

      102. BROADSPIRE’s investigation - or lack of investigation - goes to “the

very foundation of the basis for its denial.” See McIlravy v. North River Ins. Co.,

653 N.W.2d 323 (Iowa 2002).

      103. BROADSPIRE had an affirmative duty to conduct a reasonable

evaluation before it was allowed to deny workers’ compensation benefits.




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      104. BROADSPIRE violated its duty to conduct a reasonable evaluation

before it decided to deny SAMUEL workers’ compensation benefits and violated

this duty when:

            A.     BROADSPIRE made an uniformed decision.

            B.     BROADSPIRE made a decision based on financial motivation.

            C.     BROADSPIRE ignored Iowa law on the well-established

                   exceptions to the so-called “going and coming” rule such as the

                   “zone of protection” exception to that rule.

      105. BROADSPIRE had an affirmative duty to reevaluate its denial after

receiving additional information.

      106. BROADSPIRE violated its duty to reevaluate its denial after receiving

additional information regarding the WORK INJURY.

      107. BROADSPIRE had no reasonable basis to deny SAMUEL workers’

compensation benefits.

      108. BROADSPIRE knew or should have known that no reasonable basis

existed to support its decision to deny SAMUEL payment of workers’ compensation

benefits.

      109. BROADSPIRE relied on advice of counsel when it chose to deny

SAMUEL workers’ compensation benefits.




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       110. As a result of BROADSPIRE’s actions, SAMUEL has sustained harms

and losses as follows:

              A.     past and future medical expenses;

              B.     past and future pain and suffering, including mental anguish;

              C.     past and future loss of full body;

              D.     past lost wages and loss of future earning capacity;

              E.     consequential damages and other pecuniary losses; and

              F.     loss of property.

       111. The actions and conduct of BROADSPIRE were willful and wanton so

as to entitle Plaintiff to punitive damages.

       WHEREFORE Plaintiff prays for judgment for compensatory damages

against BROADSPIRE, in a fair and reasonable amount, and punitive damages

together with interest thereon as provided by law and the costs of this action.

COUNT III – VICARIOUS LIABILITY OF THE INSURANCE COMPANY

       112. SAMUEL repleads Paragraphs 1 – 111 as though fully and completely

set forth in this Count III.

       113. At all times material to Plaintiff’s causes of action, BROADSPIRE was

an agent of the INSURANCE COMPANY.

       114. The INSURANCE COMPANY is liable for the actions and conduct of

BROADSPIRE’s bad faith denial of workers’ compensation benefits.


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      115. As a result of Defendants’ actions, SAMUEL has sustained harms and

losses as follows:

             A.      past and future medical expenses;

             B.      past and future pain and suffering, including mental anguish;

             C.      past and future loss of full body;

             D.      past lost wages and loss of future earning capacity;

             E.      consequential damages and other pecuniary losses; and

             F.      loss of property.

      116. The actions and conduct of BROADSPIRE were willful and wanton so

as to entitle SAMUEL to punitive and/or exemplary damages.

      117. The INSURNACE COMPANY authorized, approved, and/or ratified

BROADSPIRE’s decision to deny and/or delay SAMUEL workers’ compensation

benefits in bad faith.

      WHEREFORE Plaintiff prays for judgment for compensatory damages

against Defendants, in a fair and reasonable amount, and punitive and exemplary

damages together with interest thereon as provided by law, plus the costs of this

action.

              COUNT IV – BAD FAITH AGAINST EMPLOYER

      118. In the alternative, the EMPLOYER was a self-insured employer for

purposes of the Iowa Workers’ Compensation Laws.


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      119. The EMPLOYER had a duty to act in good faith toward SAMUEL

regarding its investigation and evaluation of the CAR COLLISION.

      120. The EMPLOYER had an affirmative duty to conduct a reasonable

investigation before it was allowed to decide whether or not to deny SAMUEL

workers’ compensation benefits, which included the following affirmative duties:

            A.    The EMPLOYER had a duty to interview the witnesses to the

                  Car Collision.

            B.    The EMPLOYER had to a duty to have a qualified, medical

                  expert review SAMUEL’s medical records.

            C.    The EMPLOYER had a duty to send SAMUEL for an

                  independent medical examination.

            D.    The EMPLOYER had a duty to communicate with SAMUEL’s

                  treating physicians.

            E.    The EMPLOYER had a duty to follow the insurance industry

                  standard of three-point contact.

            F.    The EMPLOYER had a duty to memorialize its investigation.

      121. The EMPLOYER violated its affirmative duty to conduct a reasonable

investigation before it decided to deny SAMUEL workers’ compensation benefits.




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      122. The EMPLOYER’s investigation - or lack of investigation - goes to

“the very foundation of the basis for its denial.” See McIlravy v. North River Ins.

Co., 653 N.W.2d 323 (Iowa 2002).

      123. The EMPLOYER had an affirmative duty to conduct a reasonable

evaluation before it was allowed to deny workers’ compensation benefits.

      124. The EMPLOYER violated its duty to conduct a reasonable evaluation

before it decided to deny SAMUEL workers’ compensation benefits and violated

this duty when:

            A.     The EMPLOYER made an uniformed decision.

            B.     The EMPLOYER made a decision based on financial

                   motivation.

            C.     The EMPLOYER ignored Iowa law on the well-established

                   exceptions to the so-called “going and coming” rule such as the

                   “zone of protection” exception.

      125. The EMPLOYER had an affirmative duty to reevaluate its denial after

receiving additional information.

      126. The EMPLOYER violated its duty to reevaluate its denial after

receiving additional information regarding the WORK INJURY.

      127. The EMPLOYER had no reasonable basis to deny SAMUEL workers’

compensation benefits.


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      128. The EMPLOYER knew or should have known that no reasonable basis

existed to support its decision to deny SAMUEL payment of workers’ compensation

benefits.

      129. The EMPLOYER relied on advice of counsel when it chose to deny

SAMUEL workers’ compensation benefits.

      130. As a result of the EMPLOYER’s actions, SAMUEL has sustained

harms and losses as follows:

             A.     past and future medical expenses;

             B.     past and future pain and suffering, including mental anguish;

             C.     past and future loss of full body;

             D.     past lost wages and loss of future earning capacity;

             E.     consequential damages and other pecuniary losses; and

             F.     loss of property.

      131. The actions and conduct of the EMPLOYER were willful and wanton

so as to entitle SAMUEL to punitive and/or exemplary damages.

      132. The       EMPLOYER           authorized,      approved,   and/or   ratified

BROADSPIRE’s decision to deny and/or delay SAMUEL workers’ compensation

benefits in bad faith.

      WHEREFORE Plaintiff prays for judgment for compensatory damages

against the EMPLOYER, in a fair and reasonable amount, and punitive and


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exemplary damages together with interest thereon as provided by law, plus the costs

of this action.




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                         By:   _/s/ Al Sturgeon       ______
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                               ATTORNEYS FOR PLAINTIFF




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                               JURY DEMAND

      COMES NOW Plaintiff, by and through his attorneys, Anthony J. Bribriesco

of the BRIBRIESCO LAW FIRM, PLLC, and the AL STURGEON LAW OFFICE,

and hereby demands a trial by jury on all issues so triable in the above captioned

matter.




                         By:   _ /s/ Anthony J. Bribriesco  __
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